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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


AMERICAN FOREIGN SERVICE
ASSOCIATION, et al.,

               Plaintiffs,

       v.                                         Civil Action No. 1:25-cv-352 (CJN)

DONALD TRUMP, et al.,

               Defendants.


                                          ORDER

        For the reasons stated in the accompanying Memorandum Opinion, it is hereby

        ORDERED that Plaintiffs’ Motion for Preliminary Injunction, ECF No. 9, is DENIED;

and it is further

        ORDERED that Plaintiffs’ Motion for Hearing to Show Cause, ECF No. 19, is DENIED

as MOOT; and it is further

        ORDERED that Plaintiffs’ Motions for Leave to Supplement the Record, ECF Nos. 24,

36, and 47, are GRANTED.




DATE: February 21, 2025                                  ________________________
                                                         CARL J. NICHOLS
                                                         United States District Judge
